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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                              No. CR 12-0128 JB

MIGUEL BOLIVAR,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Motion for Substitution of Counsel and

Memorandum in Support Thereof, filed May 29, 2012 (Doc. 182)(“Motion”). The Court held

hearings on June 15, and June 20, 2012. The primary issues are: (i) whether Defendant Miguel

Bolivar’s new counsel, Erlinda Johnson, has an actual or serious potential conflict of interest in this

case; and (ii) if so, whether that conflict can be waived. The Court will grant the Motion. The Court

finds that there is no conflict and that, even if Ms. Johnson has a conflict, the Waiver by Miguel

Bolivar, filed June 20, 2012 (Doc. 206)(“Bolivar Waiver”), and the Waiver by Eugenio Mendoza-

Renteria, filed June 20, 2012 (Doc. 207)(“Mendoza-Renteria Waiver”), satisfy any concerns that the

Court might have.

                                   FACTUAL BACKGROUND

       On July 1, 2008, co-Defendant Eugenio Mendoza-Renteria was arrested for possessing with

intent to distribute 5 kilograms and more of cocaine. See Motion at 3; United States v. Enran

Rodriguez, CR 08-1667, Docket Text Entry, June 30, 2012 (Black, J.).1 The federal court appointed


       1
      The Indictment in that case indicates that Enran Rodriguez is also known as Eugenio
Mendoza-Renteria. See United States v. Enran Rodriguez, CR 08-1667, Redacted Indictment, filed
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Ms. Johnson to represent Mendoza-Renteria. See Motion at 4; United States v. Enran Rodriguez,

CR 08-1667, CJA Appointment and Authority to Pay Court Appointed Counsel, filed July 1, 2008

(Doc. 6). On July 15, 2008, Mendoza-Renteria retained D. Chipman Venie to represent him and,

on July 22, 2008, Ms. Johnson was terminated as counsel for Mendoza-Renteria. See Motion at 3-4;

United States v. Enran Rodriguez, CR 08-1667, Entry of Appearance, filed July 15, 2008 (Doc. 16).

On July 22, 2009, a federal grand jury returned a one-count indictment against Mendoza-Renteria,

charging him with attempt to possess with intent to distribute cocaine. See Motion at 4; CR 08-167

Indictment at 1. After Mr. Venie was terminated as counsel on September 30, 2008, Ms. Johnson

was reappointed to represent Mendoza-Renteria. See Motion at 4; United States v. Enran

Rodriguez, CR 08-1667, Order, filed September 26, 2008 (Doc. 35); United States v. Enran

Rodriguez, CR 08-1667, CJA Appointment and Authority to Pay Court Appointed Counsel, filed

September 30, 2008 (Doc. 37). From October 1, 2008 to April 2009, Ms. Johnson prepared

Mendoza-Renteria’s case for trial and, on April 23, 2009, a jury found Mendoza-Renteria not guilty

of attempting to possess with intent to distribute cocaine, but found him guilty of a misdemeanor

offense. See Motion at 4; United States v. Enran Rodriguez, CR 08-1667, Verdict, filed April 23,

2009 (Doc. 109). On July 17, 2009, Mendoza-Renteria was sentenced to 364 days in custody and

1 year of supervised release, and Ms. Johnson’s representation of Mendoza-Renteria terminated.

See United States v. Enran Rodriguez, CR 08-1667, Judgment in a Criminal Case, filed June 23,

2009 (Doc. 119).

                              PROCEDURAL BACKGROUND

       The arrests in this case stems from a multi-defendant indictment that a federal grand jury



July 22, 2008 (Doc. 21)(“CR 08-1667 Indictment”).

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issued on January 24, 2012. See Redacted Indictment, filed January 24, 2012 (Doc. 2)(“CR 12-0128

Indictment”). One of the individuals charged in the indictment is Mendoza-Renteria. See CR 12-

0128 Indictment at 1. Another is Bolivar. See CR 12-0128 Indictment at 1. Bolivar represents that

he and Mendoza-Renteria do not know each other. See Motion at 2.

       On January 26, 2012, Bolivar and others were arrested for conspiracy to possess with the

intent to distribute controlled substances, contrary to 21 U.S.C. §§ 841 (a)(1) and (b)(1)(A) and (B),

in violation of 21 U.S.C. § 846, and use of a telephone to facilitate a drug offense, in violation of

21 U.S.C. § 843. See Motion at 2; Docket Text Entry, filed January 26, 2012. On January 27, 2012,

Bolivar appeared before a United States Magistrate Judge for an initial appearance. See Motion at

2; Clerk’s Minutes, filed January 27, 2012 (Doc. 34). On February 1, 2012, Bolivar was arraigned

on the indictment and released on his own recognizance. See Motion at 2; Clerk’s Minutes of

Arraignment/Detention, filed February 1, 2012 (Doc. 76). During that hearing, Troy Prichard

represented Bolivar. See Motion at 2; Clerk’s Minutes of Arraignment/Detention at 1. His entry

of appearance, however, does not appear on the Court’s docket until February 13, 2012. See Motion

at 2; Entry of Appearance, filed February 13, 2012 (Doc. 119). Roberto Albertorio was appointed

to represent Mendoza-Renteria. See Motion at 4; CJA Appointment of and Authority to Pay Court

Appointed Counsel, filed January 30, 2012 (Doc. 58).

       On March 21, 2012, the Court held a status conference at which all defense attorneys and

all defendants, with the exception of Bolivar and the fugitive defendants, were present. See Clerk’s

Minutes, filed March 21, 2012 (Doc. 168). On March 27, 2012, the Court held a hearing to show

cause why it should not hold Bolivar in contempt for failing to appear at a March 21, 2012, hearing.

See Motion at 2; Notice of Show Cause Hearing, filed March 22, 2012 (Doc. 165). At the hearing,

Bolivar explained that Mr. Prichard had not informed him that his attendance was mandatory or

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when the March 21, 2012 hearing was to begin. See Transcript of Hearing at 3:12-16 (March 27,

2012)(Bolivar)(“March 27, 2012 Tr.”).2             Mr. Prichard represented that there was a

miscommunication, but that he had informed Bolivar about the hearing. See March 27, 2012 Tr. at

3:17-21 (Prichard). Mr. Prichard admitted, however, that he did not call Bolivar the night before

the hearing to remind him about the hearing. See March 27, 2012 Tr. at 3:21-22 (Prichard). The

Court explained that, if Mr. Prichard was unsure whether his client needed to appear, he needed to

consult the Court’s Courtroom Deputy or assume that Bolivar’s presence was required. See March

27, 2012 Tr. at 4:21-5:3 (Court). Unsatisfied with Mr. Prichard’s representation, in April 2012,

Bolivar contacted Ms. Johnson about representing him in this case. See Motion at 2. Bolivar

represents that, on May 18, 2012, he delivered a letter to Mr. Prichard requesting his immediate

withdrawal as his counsel and, at that time, Bolivar terminated Mr. Prichard’s services. See Motion

at 2. On May 24, 2012, Bolivar retained Ms. Johnson as his counsel of choice. See Motion at 3.

Bolivar represents that Mr. Prichard has no position on the substitution of counsel. See Motion at

1. Bolivar represents that Ms. Johnson and Assistant United States Attorney Reeve Swainston had

been in contact regarding substitution of counsel, and that Mr. Swainston “advised that he objects

to this motion to substitute counsel, citing conflict of interest due to undersigned counsel’s previous

representation of co-defendant Eugenio Mendoza-Renteria in a 2008 unrelated case.” Motion at 1.

       On May 29, 2012, Bolivar filed his Motion. See Doc. 182. Bolivar asserts that Plaintiff

United States of America is unable to demonstrate that Ms. Johnson would be laboring under a

conflict of interest in her representation of Bolivar. See Motion at 5. He argues that the Sixth

Amended to the United States Constitution guarantees him the right to be represented by counsel


       2
        The Court’s citations to the transcripts of the hearings refer to the court reporter’s original,
unedited versions. Any final transcripts may contain slightly different page and/or line numbers.

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of his choice, and that a defendant is deprived of that right when he is prevented from obtaining the

counsel of his choosing. See Motion at 5 (citing United States v. Gonzales-Lopez, 548 U.S. 140

(2006)). He contends that, for an attorney to be disqualified based on a conflict of interest, it must

be shown that the attorney “actively represented conflicting interests and that an actual conflict of

interest adversely affected the lawyer’s performance.” Motion at 5 (citing Cuyler v. Sullivan, 446

U.S. 335, 348 (1980)). Bolivar points to the American Bar Association’s Model Rules of

Professional Conduct, which provide: “A lawyer who has formerly represented a client in a matter

shall not thereafter represent another person in the same or substantially related matter in which that

person’s interests are materially adverse to the interests of the former client unless the former client

gives informed consent, confirmed in writing.” Motion at 6 (quoting Model Rules of Prof’l Conduct

R. 1.9(a)). He asserts that a matter is substantially related if: “(1) [t]he current matter involved the

work the lawyer performed for the former client; or (2) [t]here is substantial risk that representation

of the present client will involve the use of information acquired in the course of representing the

former client, unless that information has been generally known.” Motion at 6-7 (quoting

Restatement (Third) of the Law Governing Lawyers, § 132 cmt. e (2000)). He argues that there is

“absolutely no evidence that [Ms. Johnson’s] prior representation of Mr. Mendoza in an unrelated

and closed matter would create a conflict in [Ms. Johnson’s] representation of Mr. Bolivar in the

above captioned case.” Motion at 7. He suggests that, to demonstrate an actual conflict of interest,

the United States must point to “specific instances which suggest an impairment or compromise of

one client’s interests for the benefit of another party.” Motion at 8 (citing Danner v. United States,

820 F.2d 1166, 1169 (11th Cir. 1987)). Bolivar asserts that any perceived conflicts related to Ms.

Johnson’s representation are speculative and that, even if the United States establishes a possible

conflict, he is entitled to show that “there is good cause to believe that no conflict of interest is likely

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to arise.” Motion at 8 (quoting Fed.R.Crim.P. 44(c)(2)). He contends that, here, there is no

information that indicates that he and Mendoza-Renteria have conflicting adverse interests. See

Motion at 9.

       Bolivar further asserts that the potential for conflict is not sufficient to disqualify a

defendant’s choice of counsel. See Motion at 9 (citing Matter of Special February 1977 Grand Jury,

581 F.2d 1262, 1264-65 (7th Cir. 1978)). He argues that “[a] mere belief or fact that a co-defendant,

represented by defendant’s counsel, may have testified at defendant’s trial does not indicate a

conflict.” Motion at 9 (citing United States v. Medina-Hernandez, 606 F.2d 770 (7th Cir. 1979)).

He contends that the United States Court of Appeals for the Tenth Circuit has “rejected

disqualification of defense counsel in cases involving facts where the former client and the current

client know each other and the current client blamed the former client for inducing him into

committing the current offense.” Motion at 10 (citing United States v. Soto-Hernandez, 849 F.2d

1325, 1329 (10th Cir. 1988)). He reiterates that he does not know Mendoza-Renteria and that

neither is implicating the other. See Motion at 10. He emphasizes that there is no evidence that Ms.

Johnson’s representation of him contravenes Mendoza-Renteria’s interests. See Motion at 11.

Bolivar argues that the Court must examine the conflict picture “as it exists at this time” and that

the Court “should not speculate on every theoretical development that could possibly occur.”

Motion at 11 (emphasis in original)(citing United States v. Trujillo, 302 F.Supp.2d 1239, 1248

(D.Kan. 2004)). He asserts that the mere possibility that a former client who is a co-defendant may

decide to cooperate does not create an actual or serious, potential conflict and does not justify

disqualifying the defendant’s counsel of choice. See Motion at 11 (citing United States v. Turner,

594 F.3d 946, 953 (7th Cir. 2010)). He points out that, even when one client may be cross-examined

about another client and that client’s case, defendants may knowingly and intelligently waive their

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right to conflict-free representation. See Motion at 13 (citing United States v. Perez, 325 F.3d 115,

128-29 (2d Cir. 2003)).

       On June 12, 2012, the United States filed the United States’ Response to Defendant’s Motion

for Substitution of Counsel. See Doc. 198 (“Response”). The United States points to language from

the Supreme Court of the United States stating:

       [A] district court must pass on the issue of whether or not to allow a waiver of
       conflict of interest by a criminal defendant not with the wisdom of hindsight after the
       trial has taken place, but in the murkier pre-trial context when relationships between
       parties are seen through a glass, darkly. The likelihood and dimensions of nascent
       conflicts of interest are notoriously hard to predict, even for those thoroughly
       familiar with criminal trials.

Response at 1 (quoting Wheat v. United States, 486 U.S. 153, 162-63 (1988)). It asserts that, even

though Mendoza-Renteria’s previous case and the current case are not related, Mendoza-Renteria

and Bolivar may face adversarial positions in this already complex litigation matter. See Response

at 2. It states that it does not “per se object” to the Motion, but notes that it is concerned about a

possible conflict. Response at 2 (emphasis in original). The United States represents that Ms.

Johnson may have conflicting loyalties, and that the Court should require that Mendoza-Renteria

and Bolivar fully and completely understand the circumstances of the substitution in addition to

signing a waiver of the conflict. See Response at 2. It points to the Court’s obligation to investigate

potential conflicts under rule 44(c) of the Federal Rules of Criminal Procedure and notes that a “trial

court could likely face later challenges of error if it allows a real or perceived conflict to persist.”

Response at 4. It argues that,

       while the right to select and be represented by one’s preferred attorney is
       comprehended by the Sixth Amendment, the essential aim of the Amendment is to
       guarantee an effective advocate for each criminal defendant rather than to ensure that
       a defendant will inexorably be represented by the lawyer whom he prefers.

Response at 5-6 (quoting Wheat v. United States, 486 U.S. at 159). It asserts that rule 44(c)

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provides that the Court should act as the protector of a defendant’s right to constitutionally effective,

conflict free, counsel, “[u]nless there is good cause to believe that no conflict of interest is likely to

arise.” Response at 6 (citing Fed. R. Civ. P. 44(c)).    The United States contends that, under the New

Mexico Rules of Professional Conduct -- which the United States District Court for the District of

New Mexico has adopted, an attorney “should not represent a client whose interests are adverse to

those of a present client, or whose interests are adverse to those of a former client on a matter that

is the same or substantially related to the previous matter.” Response at 7 (citing In the Matter of

Stein, 143 N.M. 462, 468, 177 P.3d 513, 519 (2008)).

        The United States argues that Ms. Johnson owes a duty of loyalty both to Mendoza-Renteria

and to Bolivar. See Response at 8. It stresses the need to “peer into the future” and that “the

potential for conflict is very real.” Response at 8. The United States hypothesizes that

                Renteria may decide to cooperate and testify against co-defendants. Renteria
        may decide not to cooperate, but still testify in a manner that specifically targets
        others in this case to make himself look less culpable, or not culpable at all, while
        making others look more culpable. Renteria may advance a legal strategy that
        foregoes testimony all together, but such a strategy may require focused, yet
        divergent legal strategies from the other defendants in this case, including Bolivar,
        in order to better defend themselves against the charges in this case.

                 If Renteria decides to testify, whether as a government witness or on his own
        in his own defense, he may testify to matters that cannot be predicted at this stage of
        the prosecution, but could be damaging to other defendants including Bolivar
        whether they know each other or not. Most problematic, is that Renteria could
        testify to facts and circumstances or information, in his own defense or otherwise,
        that only he and Ms. Johnson could know are truthful or not. Such a scenario would
        place other defendants in this case, and their counsel, at a disadvantage as well
        because only Ms. Johnson is in a position to attack her former client with
        confidential, attorney-client privileged information she may have learned as his
        former counsel.

                This is where the “what ifs” live in the back of a lawyers mind. What if
        Renteria testifies about something (really anything) that Ms. Johnson in her capacity
        as his former counsel knows, or reasonably believes, is simply not true. If the
        testimony is not a matter of public record, but instead information she learned as

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       Renteria’s counsel, would Ms. Johnson be an effective representative of Bolivar if
       she did not take advantage of such an opportunity to attack the credibility of Renteria
       with such attorney-client privileged information? What if Renteria admitted to
       certain things during their relationship and then testifies completely inconsistent with
       such testimony? Such opportunities to aggressively impeach a witness with
       information a lawyer knows will be destructive to an adversarial witness are more
       rare than most would presume, yet Ms. Johnson may not be in a position to mount
       such an attack due to her loyalties to Renteria.

Response at 8-9.      The United States suggests various scenarios in which Ms. Johnson’s

representation impinges on her obligations either to Mendoza-Renteria or to Bolivar. See Response

at 10-11. It stresses that the Court, and the parties, have an interest “in advancing a process where

criminal judgments are and ‘remain intact on appeal.’” Response at 11. It argues that, to effect a

valid waiver, the Tenth Circuit requires that the trial judge affirmatively participate in the waiver

decision “by eliciting a statement in narrative from . . . the defendant indicating that he fully

understands the nature of the situation and intelligently made the decision to proceed with the

challenged counsel.” Response at 11 (citing United States v. Winkle, 722 F.2d 605, 611 (10th Cir.

1983)). It concedes that there is a presumption in favor of chosen counsel, but asserts that “the

presumption may be overcome not only by a demonstration of actual conflict but by a showing of

a serious potential for conflict.” Response at 12 (citing United States v. Vasquez, 995 F.2d 40, 41-

42 (5th Cir. 1993)). The United States reiterates, in conclusion, that it takes no specific position on

the Motion, but states that there is need for the Court to carefully and thoroughly analyze the issues

presented. See Response at 12.

       On June 13, 2012, Bolivar filed his Amended Reply to Government’s Response to Defendant

Miguel Bolivar’s Motion to Substitute Counsel. See Doc. 200 (“Reply”).3 Bolivar argues that he


       3
        The only difference between the Reply and the Reply to Government’s Response to
Defendant Miguel Bolivar’s Motion to Substitute Counsel, filed June 13, 2012 (Doc. 199), is that
the Reply corrects a grammatical error. See Reply at 1 n.1.

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“enjoys a rebuttable presumption in favor of counsel of choice.” Reply at 1 (citing Wheat v. United

States, 486 U.S. at 164). He asserts that the proper conflict analysis “is not based on ‘joint

representation’ but rather on potential conflicts resulting from successive representation.” Reply

at 2 (citing Moss v. United States, 323 F.3d 445, 459 (6th Cir. 2003). He states that, “[t]ypically,

in a successive representation case, the ‘fear’ is that an actual conflict will adversely affect trial

counsel’s performance because ‘the lawyer will fail to cross-examine the former client rigorously

for fear of revealing or misusing confidential information.’” Reply at 2 (quoting United States v.

Cordell, 193 F.App’x 479, 482 (6th Cir. 2006)(unpublished)). Bolivar contends that, in a successive

representation case, “mere proof that a criminal defendant’s counsel previously represented a

witness is insufficient to establish” a conflict. Reply at 2 (citing Smith v. White, 815 F.2d 1401,

1405 (11th Cir. 1987)). He argues that, to establish an actual conflict of interest, the United States

must show: (i) that the attorney’s “earlier representation of the witness was substantially and

particularly related to counsel’s later representation of the defendant”; or (ii) that the attorney

“actually learned particular, confidential information during the prior representation of the witness

that was relevant to defendant’s later case.” Reply at 2-3 (citing Smith v. White, 815 F.2d at 1405;

Enoch v. Gramley, 70 F.3d 1490 (7th Cir. 1995); Church v. Sullivan, 942 F.2d 1501, 1511 n.8 (10th

Cir. 1991)). Bolivar asserts that, as a general rule, courts do not disqualify an attorney based on a

conflict of interest unless the former client moves for disqualification. See Reply at 4 (citing

Stalnaker v. DLC, Ltd., 376 F.3d 819 (8th Cir. 2004)). He contends that the current matter and the

previous case in which Ms. Johnson represented Mendoza-Renteria are unrelated. See Reply at 4.

He further asserts that Mendoza-Renteria, whom Mr. Albertorio represents, does not oppose the

Motion and is willing to execute a waiver. See Reply at 5.

       On June 15, 2012, the Court held a hearing. Present at the hearing were Ms. Johnson, Mr.

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Prichard, Bolivar, and the United States. See Clerk’s Minutes at 1, filed June 15, 2012 (Doc. 204).

At the hearing, the Court suggested that, in its prior practice as a lawyer, it would have the current

client and the prior client submit waivers of conflict to ensure that all the parties were fully

informed. See Transcript of Hearing at 3:1-10 (June 15, 2012)(Court)(“June 15, 2012 Tr.”). Bolivar

asserted that the case law establishes that the United States must meet a heavy burden to establish

a conflict before waivers are necessary. See June 15, 2012 Tr. at 3:11-14 (Johnson). He pointed to

United States v. Turner, in which the United States Court of Appeals for the Seventh Circuit

reversed a district court’s disqualification of counsel based on hypotheticals. See June 15, 2012 Tr.

at 4:21-5:22 (Johnson). He stressed that this case is a successive representation case and that Ms.

Johnson is no longer beholden to Mendoza-Renteria. See June 15, 2012 Tr. at 5:22-6:6 (Johnson).

He argued that the many scenarios offered by the United States are no more than speculation, which

is insufficient to establish a conflict, but that he had no objection to proceeding to waivers. See June

15, 2012 Tr. at 6:7-6:20 (Johnson). Bolivar emphasized that it is the United States’ burden to

establish that Ms. Johnson learned something in her representation of Mendoza-Renteria that she

could use against Mendoza-Renteria in her representation of Bolivar. See June 15, 2012 Tr. at 8:11-

9:1 (Johnson). Ms. Johnson represented to the Court that she did not have that kind of information

and that a court may reasonably rely on that representation. See June 15, 2012 Tr. at 9:1-9

(Johnson).

        Mr. Prichard then addressed the Court, to which Ms. Johnson objected. See June 15, 2012

Tr. at 10:4-15 (Court, Prichard, Johnson). The Court allowed Mr. Prichard to speak, however,

because he remains counsel of record, and because he might help Bolivar make an informed decision

whether to waive any conflict. Mr. Prichard stated that he believes there is a great potential for

conflict. See June 15, 2012 Tr. at 10:17-11:2 (Prichard). He asserted that the United States’

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argument was persuasive, and that he believed Mendoza-Renteria and his counsel should be present

at the hearing to express their views on the Motion. See June 15, 2012 Tr. at 12:24-13:4 (Prichard).

When the Court asked Mr. Prichard what his specific concerns were, he emphasized that page 9 of

the Response captured the universe of his concerns regarding the potential for conflict. See June

15, 2012 Tr. at 14:8-12 (Prichard).

       The United States asserted that it was not moving to preclude Ms. Johnson’s representation,

but that it believed that the Court should be aware of these circumstances. See June 15, 2012 Tr.

at 16:10-17 (Swainston). It argued that it did not have enough information to know how concerned

it should be or about what it should be concerned. See June 15, 2012 Tr. at 16:22-23 (Swainston).

The United States suggested that it might be best to continue the hearing until Mendoza-Renteria

could be present, because he also has an interest in the proceeding. See June 15, 2012 Tr. at 17:16-

25 (Swainston). The United States also asserted that, given Mendoza-Renteria’s May 7, 2012 letter

to the Court,4 it was concerned whether Mr. Albertorio would remain as counsel for Mendoza-

Renteria. See June 15, 2012 Tr. at 18:1-9 (Swainston). It contended that, although Ms. Johnson

may not remember anything that might help her cross-examine Mendoza-Renteria, she may later



       4
        On May 7, 2012, Mendoza-Renteria wrote the Court stating:

       Mr. Albertorio has had very little communication with me and each time that I have
       tried to contact him, my calls were unanswered. I have been advised that he is no
       longer with the Public Defenders Office. No one from the Public Defenders Office
       has helped me with information on my case . . . Is there any way you could help me
       find out why my case has not moved forward.

Doc. 181 (“Mendoza-Renteria Letter”). After the Court read the Mendoza-Renteria Letter, it asked
its Courtroom Deputy Clerk, K’Aun Wild, to call Mr. Albertorio and have him go see his client. Mr.
Albertorio informed Ms. Wild that the United States had been delivering a lot of discovery to each
of the Defendants’ counsel and that there was nothing to report at this stage to Mendoza-Renteria.
He agreed, however, to go see Mendoza-Renteria.

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remember certain information, in particular information concerning whether he is a United States

citizen -- a fact in dispute. See Tr. at 20:4-13 (Swainston). It argued that there is a real possibility

that Ms. Johnson’s representation would involve adverse interests and pointed to United States v.

Suarez, 283 F.3d 76 (2d Cir. 2002). See June 15, 2012 Tr. at 20:19-21:8 (Swainston). The United

States emphasized that there are two possible conflicts: (i) Ms. Johnson has obligations to her former

client that could interfere with her representation of Bolivar; and (ii) she has obligations to Bolivar

that she may not fulfill to avoid violating her duties to Mendoza-Renteria. See June 15, 2012 Tr.

at 24:20-25:4 (Swainston).

       The Court asked Bolivar about continuing the hearing so that Mr. Albertorio and Mendoza-

Renteria could be present. See June 15, 2012 Tr. at 28:20-25 (Court). Bolivar objected, because the

United States had not met its burden of establishing a conflict and because the case was not at the

point where waivers were necessary. See June 15, 2012 Tr. at 29:1-31:4 (Johnson). The Court

stated that it was concerned that Mendoza-Renteria was not present and held that it would continue

the hearing to allow him to be present. See June 15, 2012 Tr. at 33:10-17 (Court).

       On June 18, 2012, the United States filed the United States’ Notice of Supplemental

Authority. See Doc. 205 (“Supplemental Authority”). The United States cites several district court

cases in support of its argument that the Court should: (i) “determine whether there is an actual

conflict of interest or a serious potential for a conflict of interest concerning Mrs. Johnson’s

proposed representation of defendant Miguel Bolivar”; and (ii) if the Court answers in the

affirmative, whether a waiver of the conflict is both permissible and appropriate. Supplemental

Authority at 1 (citing United States v. Kolodesh, No. 11-464, 2012 WL 1156334, at *3 (E.D. Pa.

Apr. 5, 2012)(Robreno, J.); United States v. Massimino, 832 F.Supp.2d 510, 515 (E.D. Pa.

2011)(Robreno, J.)). The United States further asserts that there is no requirement that the Court

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“first find an actual conflict,” because a “serious potential for a conflict of interest is enough to

require this Court’s careful consideration of Bolivar’s request for his attorney of choice in this

matter.” Supplemental Authority at 1 (citing Wheat v. United States, 486 U.S. at 159).

       On June 20, 2012, Bolivar submitted the Waiver by Miguel Bolivar. See Doc. 206 (“Bolivar

Waiver”). Bolivar recites the facts regarding Ms. Johnson’s representation of Mendoza-Renteria

and his retention of Ms. Johnson. See Bolivar Waiver ¶¶ 1-7, at 1. He states:

       8.      Ms. Johnson is my counsel of choice.

       9.      I have been advised that I have the right to counsel of my own choice.

       10.     By signing this document I acknowledge that I have been apprised of all the
               facts surrounding my counsel and her prior representation of Eugenio
               Mendoza-Renteria.

       11.     Understanding all the foregoing facts, I hereby advise the Court that Ms.
               Johnson is my counsel of choice and wish for her to continue her
               representation of me in the above captioned case and I hereby waive any
               conflict of interest.

Bolivar Waiver ¶¶ 8-11, at 1-2. Bolivar also filed Mendoza-Renteria’s waiver of any conflict. See

Waiver by Eugenio Mendoza-Renteria, filed June 20, 2012 (Doc. 207)(“Mendoza-Renteria

Waiver”). Mendoza-Renteria similarly recounts the facts surrounding Ms. Johnson’s representation

of him. See Mendoza-Renteria Waiver ¶¶ 1-9, at 2. He states

       11.     I understand that co-defendant Miguel Bolivar has retained Ms. Johnson to
               represent him in this case.

       12.     I understand that if I choose to testify at trial and I am tried jointly with Mr.
               Bolivar, Ms. Johnson will have to cross-examine me. Knowing that I hereby
               waive any conflict of interest and privileges.

       13.     I do not object to Ms. Johnson’s representation of Mr. Bolivar.

       14.     Understanding all the foregoing facts, I hereby advise the Court that Ms.
               Johnson will be representing Mr. Bolivar in the same case in which I am
               currently charged and I hereby waive any conflict of interest.

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See Mendoza-Renteria Waiver ¶¶ 11-14, at 2.

        On June 20, 2012, the Court held a second hearing on the Motion. Given the United States’

concerns at the previous hearing, the Court asked Mr. Albertorio the status of his relationship with

Mendoza-Renteria. See Transcript of Hearing at 3:18-25 (June 20, 2012)(Court)(“June 20, 2012

Tr.”). Mr. Albertorio responded that he had met with his client several times and that there are no

current issues concerning his representation of Mendoza-Renteria. See June 20, 2012 Tr. at 4:1-5

(Albertorio). The Court then asked whether Mendoza-Renteria had any objection to Ms. Johnson

representing Bolivar. See June 20, 2012 Tr. at 4:10-11 (Court). Mendoza-Renteria asserted that he

has no objection and that he has executed a waiver. See June 20, 2012 Tr. at 4:12-21 (Albertorio).

He stated that Ms. Johnson represented him four years ago, that he has talked with Mr. Albertorio,

and that they see nothing, at this time, which could result in a conflict. See June 20, 2012 Tr. at 5:5-

12 (Albertorio).

        Bolivar noted that the materials which the United States submitted provide somewhat of a

framework for conflicts, but asserted that they are factually distinguishable from his case, because,

in those cases, a conflict had already been established. See June 20, 2012 Tr. at 7:17-25 (Johnson).

He argued that the cases provided by the United States make clear that: (i) the United States bears

the burden of establishing that there is an actual conflict or the serious potential for a conflict; and

(ii) if the United States meets that burden, then the Court must determine whether a waiver would

address the conflict. See June 20, 2012 Tr. at 7:25-8:11 (Johnson). He also pointed the Court to

United States v. Agosto, 675 F.2d 965 (8th Cir. 1982), overruled on other grounds by Flanagan v.

United States, 465 U.S. 259 (1984), in which the United States Court of Appeals for the Eighth

Circuit held that, if the district court finds that there are potential conflicts, the court may accept

waivers. See June 20, 2012 Tr. at 8:23-9:19 (Johnson). He provided the Court with the waivers for

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Mendoza-Renteria and himself. See June 20, 2012 Tr. at 9:20-22 (Johnson). The Court then asked,

looking to Supplemental Authority, for Bolivar’s view on the holdings of the Honorable Eduardo

C. Robreno, United States District Judge for the Eastern District of Pennsylvania, that an attorney

is conclusively presumed to have received privileged information during his representation of a

former client. See June 20, 2012 Tr. at 10:4-16 (Court). Bolivar responded that, in United States

v. Massimino, by the time he made his holdings, Judge Robreno had already established that there

was a conflict, because the former client was already a government witness. See June 20, 2012 Tr.

at 11:11-16 (Johnson). He argued that the Eighth Circuit has held that a district court should not

disqualify counsel of choice merely because it is presumed that counsel received privileged

information from a former client. See June 20, 2012 Tr. at 12:1-7 (Johnson).

        Mr. Prichard stated that United States’ Response is persuasive and that there may be a

serious potential conflict. See June 20, 2012 Tr. at 13:21-14:11 (Prichard). Mendoza-Renteria

reiterated that he does not believe there is a conflict, but noted that he did not know who would

testify at this juncture. See June 20, 2012 Tr. at 14:15-22 (Albertorio). The United States

represented that it provided the Supplemental Authority to give the Court some guidance how other

district courts have handled this analysis. See June 20, 2012 Tr. at 16:2-12 (Swainston). It stated

that its argument remained largely the same, but asserted that the waivers likely resolved any

conflict. See June 20, 2012 Tr. at 16:13-16 (Swainston). The United States emphasized that it does

not seek to disqualify Ms. Johnson, but argued that it viewed its burden as no more than the ethical

obligation to bring the matter before the Court. See June 20, 2012 Tr. at 17:17-24 (Swainston). It

asserted that it was still concerned that, down the road, a conflict could arise, and that, if the burden

is on the United States, its burden has been met. See June 20, 2012 Tr. at 17:24-18:10 (Swainston).

Mendoza-Renteria then confirmed that he was not looking for other counsel and that he was satisfied

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with Mr. Albertorio’s representation. See June 20, 2012 Tr. at 20:19-21:9 (Court, Mendoza-

Renteria). Bolivar also noted that independent counsel, Scott Davidson, reviewed the Bolivar

Waiver with him to make sure that he understood the rights that he was waiving. See June 20, 2012

Tr. at 25:18-25 (Johnson).

       After the hearing, Bolivar submitted several notices containing the position of other defense

counsel regarding the Motion. See Notice of Position of Other Defense Counsel as to Defendant

Miguel Bolivar’s Motion to Substitute Counsel (Doc. 182), filed June 22, 2012 (Doc. 212);

Amended Notice of Position of Other Defense Counsel as to Defendant Miguel Bolivar’s Motion

to Substitute Counsel (Doc. 182), filed June 27, 2012 (Doc. 216); Second Amended Notice of

Position of Other Defense Counsel as to Defendant Miguel Bolivar’s Motion to Substitute Counsel

(Doc. 182), filed July 1, 2012 (Doc. 218)(“Position of Other Defense Counsel”). Bolivar represents

that counsel for the following co-Defendants have indicated that they do not believe that Ms.

Johnson’s representation creates a conflict or potential conflict, and do not object to the Motion: (i)

Homero Varela; (ii) Steve Chavez; (iii) Benito Castillo-Nava; (iv) Ramon Gonzalez, Jr.; (v) Ramon

Gonzalez, Sr.; (vi) Adalberto Valenzuela-Flores; (vii) Gabriel Guerra-Gonzales; (viii) Antonio

Munoz-Hernandez; (ix) Andres Gonzales; (x) Jesus Ramos-Castillo; and (xi) Roy Madrid.

See Position of Other Defense Counsel at 1-3. Accordingly, every co-Defendant, except for those

who are fugitives, Manuel Villa-Mayorquin and Procoro Noberto Alvarez, has stated that they do

not object to the Motion.

    LAW REGARDING THE SIXTH AMENDMENT AND ATTORNEY CONFLICTS

       The “essential aim” of the Sixth Amendment “is to guarantee an effective advocate for each

criminal defendant.” Wheat v. United States, 486 U.S. at 159. Derivative of the right to counsel is

a defendant’s right to representation by the counsel of his choice. See United States v. Gonzalez-

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Lopez, 548 U.S. 140, 144 (2006). “Where a constitutional right to counsel exists, our Sixth

Amendment cases hold that there is a correlative right to representation that is free from conflicts

of interest.” Wood v. Georgia, 450 U.S. 261, 271 (1981). “[W]hile the right to select and be

represented by one’s preferred attorney is comprehended by the Sixth Amendment, the essential aim

of the Amendment is to guarantee an effective advocate for each criminal defendant.” Wheat v.

United States, 486 U.S. at 159. The Supreme Court has noted that, in joint-representation cases, the

danger is “in what the advocate finds himself compelled to refrain from doing.” Holloway v.

Arkansas, 435 U.S. 475, 488 (1978) (emphasis in original). The Tenth Circuit has held that the same

conflict principles apply to successive-representation cases. See United States v. Winkle, 722 F.2d

at 610 (“These principles concerning conflicts of interest are not restricted to cases of joint

representation of co-defendants at a single trial.”). Many of the cases in the Tenth Circuit discussing

attorney conflicts of interest do so from the habeas perspective and do not set forth the standards by

which a district court should determine whether a conflict exists at an earlier stage of the proceeding.

Appellate courts must afford a district court’s decision to disqualify counsel “broad latitude.”

United States v. Evanson, 584 F.3d 904, 911 (10th Cir. 2009).

       The first step in the conflict analysis is to determine whether there is a conflict of interest or

the serious potential for a conflict of interest. Where the government is aware of a conflict of

interest, it “has a duty to bring it to the court’s attention and, if warranted, move for

disqualification.” United States v. Migliaccio, 34 F.3d 1517, 1528 (10th Cir. 1994). The Supreme

Court has acknowledged that the Sixth Amendment requires that district courts “recognize a

presumption in favor of [the defendant’s] counsel of choice, . . . [but] that presumption may be

overcome not only by a demonstration of an actual conflict but by a showing of a serious potential

for conflict.” Wheat v. United States, 486 U.S. at 164. “An actual conflict exists when defense

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counsel is compelled to comprise his or her duty of loyalty or zealous advocacy to the accused by

choosing between or blending the divergent or competing interests of a former or current client.”

Perillo v. Johnson, 205 F.3d 775, 781 (5th Cir. 2000). “[A]n attorney has a potential conflict of

interest if the interests of the defendant may place the attorney under inconsistent duties at some

time in the future.” United States v. Perez, 325 F.3d at 125. In United States v. Bowie, 892 F.2d

1494 (10th Cir. 1990), the Tenth Circuit found that “the potential for conflict is great” in a

successive-representation case “where there is a substantial relationship between the cases.” 892

F.2d at 1502. The Tenth Circuit also stated that there is “no per se rule prohibiting representation

of the defendant by counsel who has previously represented a government witness in a related case.”

United States v. Bowie, 892 F.2d at 1502. The United States District Court for the District of

Kansas has held that it is

        appropriate to assume initially that the defendant’s choice of counsel is proper unless
        the government can lay a foundation showing good cause to believe that there is
        either already an actual conflict of interest interfering with the ability of counsel to
        provide effective assistance, or a probability that such a conflict will develop in the
        case.

United States v. Trujillo, 302 F.Supp.2d at 1247-48. In determining whether the United States has

met this burden, the trial court must balance “a defendant’s Sixth Amendment right to counsel of

choice against the interests of the proper and fair administration of justice.” United States v.

Kolodesh, 2012 WL 1156334, at *4 (citing United States v. Voigt, 89 F.3d 1050, 1074 (3d Cir.

1999)). The Seventh Circuit has held that, before disqualifying counsel based on a potential conflict,

the district court should “evaluate (1) the likelihood the conflict will actually occur; (2) the severity

of the threat to counsel’s effectiveness; and (3) whether there are alternative measures available

other than disqualification.” United States v. Turner, 594 F.3d 946, 952 (7th Cir. 2010).

        If a conflict is present, a defendant may waive the conflict. See Peretz v. United States, 501

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U.S. 923, 936 (1991)(“The most basic rights of criminal defendants are . . . subject to waiver.”);

United States v. Hunt, 62 F.App’x 272, 276 (10th Cir. 2003)(unpublished)(“Nevertheless, a

defendant may knowingly and intelligently waive the right to conflict-free counsel.”). “[A] district

court should affirmatively participate in a defendant’s waiver decision . . . to determine if he

knowingly and intelligently made the decision to continue with conflicted counsel.” United States

v. Hunt, 62 F.App’x at 275. The Tenth Circuit has held that, to effect a valid waiver, a trial court

should “affirmatively participate in the waiver decision by eliciting a statement in narrative form

from the defendant indicating that he fully understands the nature of the situation and has knowingly

and intelligently made the decision to proceed with the challenged counsel.” United States v.

Winkle, 722 F.2d at 611 (citations omitted). A district court “should also determine whether the

defendant understands the facts underlying the conflict and the dangers and risks associated with

waiving the conflict.” United States v. Hunt, 62 F.App’x at 276 (citing Eden v. Hannigan, 87 F.3d

1109, 1118 (10th Cir. 1996)). Where a colloquy does not reflect that the defendant understood those

risks and knowingly and intelligently waived the conflict, the Tenth Circuit has held that there is a

Sixth Amendment violation where the conflict adversely effect counsel’s performance. See Eden

v. Hannigan, 87 F.3d at 1112, 1118. The district court is “allowed substantial latitude in refusing

waivers of conflicts of interest.” Wheat v. United States, 486 U.S. at 163. The United States Court

of Appeals for the First Circuit has held that the “government bears a ‘heavy burden’ in

demonstrating that disqualification is justified” and that “disqualification of . . . counsel should be

a measure of last resort.” In re Grand Jury Proceedings, 859 F.2d 1021, 1026 (1st Cir. 1988).

                                            ANALYSIS

       The Court will grant the Motion. There is no actual conflict of interest in this case, and any

potential conflict is too speculative to support disqualifying Ms. Johnson. Furthermore, Mendoza-

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Renteria and Bolivar have waived any conflict. All other available co-Defendants have also

informed the Court that they do not object to Ms. Johnson representing Bolivar.

I.      MS. JOHNSON’S REPRESENTATION OF BOLIVAR DOES NOT CREATE AN
        ACTUAL OR SERIOUS POTENTIAL CONFLICT OF INTEREST.

        The United States does not seek to disqualify Ms. Johnson as counsel. See June 20, 2012

Tr. at 17:17-24 (Swainston). It argues that it has, however, satisfied its burden to establish that there

is a conflict, because it has established that Ms. Johnson has previously represented Mendoza-

Renteria, Bolivar’s co-Defendant, and that, if Ms. Johnson continues to represent Bolivar, she may

be forced to cross-examine Mendoza-Renteria. See June 20, 2012 Tr. at 17:24-18:10 (Swainston).

        In United States v. Lanoue, 137 F.3d 656 (1st Cir. 1998), the First Circuit described a case

at what it considered the “outer limits” of a potential conflict, and affirmed the district court’s

decision to disqualify counsel. 137 F.3d at 664. There, the attorney had represented a co-defendant

during an earlier trial on related charges, and the United States asserted that it might call the co-

defendant as a witness to testify whether the defendant possessed a firearm at any time during the

events for which they were both arrested. See United States v. Lanoue, 137 F.3d at 663. The First

Circuit noted that the “government offered no reason, other than the possibility that [the co-

defendant] might have known of the firearm, for calling him as a witness.” United States v. Lanoue,

137 F.3d at 663. Those circumstances provide a much stronger basis for finding a potential conflict

than the circumstances before the Court. Ms. Johnson’s representation of Mendoza-Renteria

terminated three years ago, and the subject of her representation was criminal charges unrelated to

the charges in this case. The United States can only speculate whether Mendoza-Renteria would

testify at trial. That the cases are unrelated provides a strong basis for determining that any potential

conflict is not so serious as to require disqualification. See United States v. Bowie, 892 F.2d at 1502


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(noting that “the potential for conflict is great” in a successive-representation case “where there is

a substantial relationship between the cases”). The hypothetical scenarios that the United States

presents establish the possibility of a conflict, but not the probability. See Response at 9 (“This is

where the ‘what ifs’ live in the back of a lawyers mind.”). “[D]isqualification should be based at

least upon a standard of probability of a conflict developing rather than a mere possibility.” United

States v. Trujillo, 302 F.Supp.2d at 1248 n.16 (emphasis in original). None of the concerns that the

United States raises move the potential for a conflict from a possibility to a probability. Mendoza-

Renteria might testify. Ms. Johnson might know something from her past representation of

Mendoza-Renteria that might be relevant to this case. The only fact that the United States puts

forward that Ms. Johnson might have knowledge of was whether Mendoza-Renteria was a citizen,

but the United States did not offer any scenario in which Ms. Johnson might be able to use that fact

in cross-examination or why that would be relevant to her defense of Bolivar. See Tr. at 20:4-13

(Swainston).

       At this time, “presumably each of these defendant’s primary interest is avoiding conviction

on the charges pending in his case, and there is no indication that in order to do so he must

contravene that same interest on the part of any of the others.” United States v. Trujillo, 302

F.Supp.2d at 1252. Judge Robreno has recognized that “there can be no doubt [an attorney’s]

loyalty would be divided between a current client and a former client because an attorney who cross-

examines former clients inherently encounters divided loyalties.” United States v. Massimino, 832

F.Supp.2d at 515. The Tenth Circuit has held, however, that there is “no per se rule prohibiting

representation of the defendant by counsel who has previously represented a government witness

in a related case.” United States v. Bowie, 892 F.2d at 1502. Furthermore, the Court again notes

that the United States has not established that Mendoza-Renteria will ever testify in this case. Given

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the Court’s experience in many drug conspiracy cases and, more important, drug conspiracy trials,

the chances are more likely that he will not testify. In United States v. Massimino, the defendant’s

attorney was confronted with the task of cross-examining a former client who was a government

witness. See 832 F.Supp.2d at 515. Additionally, the defendant’s attorney in United States v.

Massimino faced a serious potential for conflict with a co-defendant because he had represented the

co-defendant during pre-trial proceedings. See 832 F.Supp.2d at 517. Ms. Johnson’s representation

of Mendoza-Renteria took place three years ago and his prior alleged crimes are not related to the

current criminal charges. The United States District Court for the District of Utah, when faced with

similar circumstances, found that any conflict was “more hypothetical than real” where a

defendant’s attorney had previously represented a government witness and held that it would not

disqualify the defendant’s counsel of choice. See United States v. Penn, 151 F.Supp.2d 1322, 1325-

26 (D.Utah 2001). The circumstances of that case were as follows:

       The representation terminated before this case was brought. The record is absent of
       any facts to show that the nature of Mr. Booker’s prior representation of the witness
       involved receiving information that could have any bearing substantively or on the
       witness’s credibility in this case. The two representations of the clients, witness and
       defendant, are unrelated.

United States v. Penn, 151 F.Supp.2d at 1325. The proposed conflict here is similarly hypothetical,

and presents neither an actual nor a serious potential conflict.

       The Model Rules of Professional Conduct similarly focus on the relationship between the

case in which an attorney represented a former client and the current case. They provide: “A lawyer

who has formerly represented a client in a matter shall not thereafter represent another person in the

same or substantially related matter in which that person’s interests are materially adverse to the

interests of the former client unless the former client gives informed consent, confirmed in writing.”

Model Rules of Prof’l Conduct R. 1.9(a). A matter is substantially related if: “(1) [t]he current

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matter involved the work the lawyer performed for the former client; or (2) [t]here is substantial risk

that representation of the present client will involve the use of information acquired in the course

of representing the former client, unless that information has been generally known.” Restatement

(Third) of the Law Governing Lawyers, § 132 cmt. e. The United States District Court for the

Eastern District of New York, applying this standard, has noted that “[l]imited representation of a

government witness unrelated to representation of the defendant is not likely to present a disabling

conflict.” United States v. Pizzonia, 415 F.Supp.2d 168, 178 (E.D.N.Y. 2006). The case before the

Court is not related to the criminal charges in which Ms. Johnson represented Mendoza-Renteria.

Additionally, the United States has not established that there is a substantial risk that Ms. Johnson’s

representation of Bolivar will involve the use of information she acquired during her representation

of Mendoza-Renteria. The United States could point to no specific scenarios in which Ms.

Johnson’s loyalties might be compromised, and raised only the possibility that Mendoza-Renteria

might testify and Ms. Johnson might cross-examine him. That scenario is unlikely, and even if it

occurred, it does not appear that Ms. Johnson acquired any information from Mendoza-Renteria that

she would use against him in favor of Bolivar.

       The Court finds that there is no conflict present in this case, and any potential conflict is too

speculative to support disqualifying Ms. Johnson. While the United States and Mr. Prichard have

made the Court probe the circumstances of Ms. Johnson’s representation of Mendoza-Renteria, that

investigation has not revealed anything that troubles the Court to the extent that the Court would set

aside Bolivar’s choice of counsel. Accordingly, the Court will grant the Motion.

II.    EVEN IF THERE IS A CONFLICT OF INTEREST, BOLIVAR AND
       MENDOZA–RENTERIA MAY WAIVE THE CONFLICT.

       In their waivers, Bolivar and Mendoza-Renteria acknowledge Ms. Johnson’s previous


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representation of Mendoza-Renteria. See Bolivar Waiver ¶¶ 10-11, at 2; Mendoza-Renteria Waiver

¶¶ 11-14, at 2. The Court held a hearing, at which Mendoza-Renteria and Bolivar were both present,

and confirmed that their attorneys had discussed the implications of the waiver with them. See June

20, 2012 Tr. at 4:6-21 (Court, Albertorio); June 20, 2012 Tr. at 9:9-22 (Johnson). Bolivar also stated

that independent counsel, Mr. Davidson, had reviewed the Bolivar Waiver with him to make sure

that he understood the rights that he is waiving. See June 20, 2012 Tr. at 25:18-25 (Johnson). The

United States also indicated that waivers were sufficient to resolve this issue. See June 20, 2012 Tr.

at 16:15-16 (Swainston).

       The Tenth Circuit has indicated that, where a conflict is disclosed, a defendant can

knowingly and intelligently waive his or her right to conflict-free counsel. See United States v.

Hunt, 62 F.App’x at 277 (“Mr. Hunt’s trial counsel disclosed the conflict and obtained a written

waiver from Mr. Hunt . . . .”). The Court has determined that any potential conflict is hypothetical

and unlikely to impact Ms. Johnson’s representation, given that her past representation of Mendoza-

Renteria was in an unrelated case. Moreover, Ms. Johnson has affirmatively asserted that she does

not have privileged information regarding Mendoza-Renteria which she could use in her

representation of Bolivar. See June 15, 2012 Tr. at 9:1-9 (Johnson). Although a district court has

significant discretion to accept or refuse a waiver, see Wheat v. United States, 486 U.S. at 163,

“disqualification of . . . counsel should be a measure of last resort,” In re Grand Jury Proceedings,

859 F.2d at 1026. It is also worth noting that the United States has not moved to disqualify Ms.

Johnson. The Court believes that, on balance, Bolivar’s interest in obtaining his counsel of choice

outweighs the dangers of a possible future conflict, and finds that Bolivar and Mendoza-Renteria

may waive any potential conflict. Other courts have accepted waivers even when counsel possessed

information “closely related to the events alleged in the indictment.” United States v. Massimino,

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832 F.Supp.2d at 518. Additionally, courts have refused to disqualify counsel where “[t]here is no

evidence . . . that defense counsel’s representation or prior involvement with [a] Government

witness would be detrimental to the witness or to [the] defendant . . . or that other interests would

effect counsel’s performance.” United States v. Penn, 151 F.Supp.2d at 1326. Bolivar has been

informed of the potential for conflict, see Bolivar Waiver at 1-2, and has determined that obtaining

Ms. Johnson’s services is worth the risk that a conflict might arise in the future. He is entitled to

make that choice. See United States v. Pizzonia, 415 F.Supp.2d at 182 (“Defendant does possibly

reduce the number of defense strategies by continuing to retain defense counsel. . . . Nevertheless,

he insists on asserting his Sixth Amendment right to counsel of his own choosing.”).

       Given that the Court has found that any potential for conflict is speculative, and that Ms.

Johnson’s previous representation and the current case are unrelated, the Court believes that waivers

are appropriate, and that Mendoza-Renteria and Bolivar may waive any conflict that might be

present. Before the Court may accept Mendoza-Renteria’s and Bolivar’s waivers, however, the

Court must conduct a colloquy with them to ensure that they understand the risks associated with

entering these waivers. The Court will conduct this hearing out of an abundance of caution, and

because the Tenth Circuit requires a district court to investigate with each defendant whether their

waiver is knowing and voluntary. The Tenth Circuit has held that a trial court should “affirmatively

participate in the waiver decision by eliciting a statement in narrative form from the defendant

indicating that he fully understands the nature of the situation and has knowingly and intelligently

made the decision to proceed with the challenged counsel.” United States v. Winkle, 722 F.2d at

611 (citations omitted). A district court “should also determine whether the defendant understands

the facts underlying the conflict and the dangers and risks associated with waiving the conflict.”

United States v. Hunt, 62 F.App’x at 276. Accordingly, the Court will hold a hearing on Tuesday,

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July 24, 2012 at 10:00 a.m. to determine whether Mendoza-Renteria and Bolivar understand the

rights they are waiving before the Court accepts the waiver.

       IT IS ORDERED that the Motion for Substitution of Counsel and Memorandum in Support

Thereof, filed May 29, 2012 (Doc. 182), is granted.


                                                               _______________________________
                                                               UNITED STATES DISTRICT JUDGE
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